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                                  Exhibit A
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                                          April 5, 2023


 VIA ELECTRONIC TRANSMISSION
 Breon Peace
 United States Attorney
 Eastern District of New York

 César De Castro
 Attorney for Genaro Garcia Luna


 Dear Mr. Peace and Mr. De Castro:

       Please provide the discovery from United States of America v. Genero Garcia Luna,
 1:19CR00576. Your production should include information produced pursuant to obligations
 imposed by:

               Federal Rule of Criminal Procedure 16
               18 U.S.C. § 3500
                Brady v. Maryland, 373 U.S. 83 (1963)
               Giglio v. United States, 405 U.S. 150 (1972)

 This information is relevant to the oversight of foreign law enforcement operations which are
 subject to presidential budget requests and funded by Congressional appropriations. Please
 provide these materials no later than May 4, 2023.

                                             Sincerely,




                                             Charles E. Grassley
